Case 3:03-cr-00078-N       Document 655        Filed 12/13/07      Page 1 of 1     PageID 3917



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

DONALD TERRELL BANKS,                           §
             Defendant-Petitioner,              §
                                                §   NO. 3:06-CV-1800-N (BF)
v.                                              §   (3:03-CR-078-N) (BF)
                                                §         ECF
UNITED STATES OF AMERICA,                       §
               Plaintiff-Respondent.            §

                                            ORDER

       After making an independent review of the pleadings, files, and records in this case, and

the Findings, Conclusions, and Recommendation of the United States Magistrate Judge, the

Court is of the opinion that the findings, conclusions, and recommendation of the Magistrate

Judge are correct.

       IT IS, THEREFORE, ORDERED that the findings, conclusions, and recommendation of

the United States Magistrate Judge are adopted. The Court notes that in view of recent action by

the United States Sentencing Commission, Petitioner may move for a reduction in his sentence

under the new Guideline for cocaine base on or after March 3, 2008, pursuant to 18 U.S.C. sec.

3582(c)(2).

       SIGNED December 13, 2007.




                                                    DAVID C. GODBEY
                                                    UNITED STATES DISTRICT JUDGE
